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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF FLORIDA




                                                    Civil Action No. 1:21-cv-22440-KMW
    DONALD J. TRUMP, the Forty-Fifth President of
    the United States, ELIZABETH ALBERT,
    KIYAN AND BOBBY MICHAEL, JENNIFER
    HORTON, ANDRES CABO, MAGALYS RIOS,
    AND MARIA RODRIGUEZ-FRESNEDA,
    INDIVIDUALLY, AND ON BEHALF OF
    THOSE SIMILARLY SITUATED,

                    Plaintiffs,

               v.

    FACEBOOK, INC., and MARK ZUCKERBERG,

                                                    ORAL ARGUMENT REQUESTED
                    Defendants.




                    PLAINTIFFS’ SUR-REPLY IN FURTHER OPPOSITION
                        TO DEFENDANTS’ MOTION TO TRANSFER
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            This sur-reply is respectfully submitted to address Trump v. YouTube, No. 1:21-cv-22445-

   KMM (S.D. Fla. Oct. 6, 2021), which Defendants’ Reply asks this Court to follow, calling it a

   “near-identical” case, but which was decided after Plaintiffs submitted their opposition.

                                                       ARGUMENT

       I.        YouTube Does Not Address the Core Violation of Florida Public Policy
                 Defendants Seek to Accomplish Through Transfer

            Under well-established law, Facebook’s forum-selection provision is unenforceable if it

   violates Florida public policy by depriving Plaintiffs of an important Florida statutory remedy.

   Gordon v. Sandals Resorts Int’l, Ltd., 418 F. Supp. 3d 1132, 1139 (S.D. Fla. 2019) (Scola, J.)

   (contract’s choice of forum unenforceable where state has a clear public policy “against attempt[s]

   to skirt the laws of [that state] by use of forum selection clauses”) (quoting Davis v. Oasis Legal

   Finance Operating Company, LLC, 936 F.3d 1174, 1179 (11th Cir. 2019) (citation omitted)).

   While YouTube quotes extensively from Gordon, it wholly fails to address the complete erasure

   of Florida’s Social Media Platforms Act (SMPA)—and hence violation of Florida public policy—

   that Defendants seek to accomplish here.

            If Facebook’s choice of forum provision were enforced, this case would be decided not

   only in California, but under the “laws of the State of California . . . without regard to conflict of

   law provisions.” (Facebook TOS § 4, https://www.facebook.com/terms.php?ref=pf) (emphasis

   added). In other words, Florida statutory law simply would not apply, and Plaintiffs will be

   completely deprived of their SMPA remedy. 1

            This result would clearly contravene Florida public policy. Florida’s legislature and


   1
     There is no California statute remotely similar to the SMPA, and Defendants make no claim that there exists any
   California cause of action against a social media company for censoring or de-platforming a user. The SMPA was
   found unconstitutional by another district court in the Netchoice litigation, but the “[o]pinion of a district court carries
   no precedential weight, even within the same district,” and thus the flawed NetChoice decision is not binding on this
   Court. United States v. Cerceda, 172 F.3d 806, 812 n.6 (11th Cir. 1999) (en banc).
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   governor did not believe they were passing a statute with zero operative effect when they enacted

   the SMPA. The public policy behind that Act was expressed by Florida’s governor: “This session,

   we took action to ensure that ‘We the People’, real Floridians across the Sunshine State, are

   guaranteed protection against the Silicon Valley elites. Many in our state have experienced

   censorship - firsthand in Cuba and Venezuela. If Big Tech censors enforce rules inconsistently, to

   discriminate in favor of the dominant Silicon Valley ideology, they will now be held accountable.”

   (Ron DeSantis, 46th Gov. of Florida, https://www.flgov.com/2021/05/24/governor-ron-desantis-

   signs-bill-to-stop-the-censorship-of-floridians-by-big-tech.) This clear public policy will be

   obliterated if the “Big Tech censors” can use forum selection provisions to make the SMPA

   inapplicable. As explained in Gordon, that is a patently unenforceable result, enabling Defendants

   to “skirt the laws” of Florida “by use of [a] forum selection clause[.]” Gordon, 418 F. Supp. 3d at

   1139 (quoting Davis, 936 F.3d at 1179) (citation omitted).

          As another District Court in this Circuit held in analogous circumstances, when a contract’s

   “choice [of law and choice of forum] clauses work together” to circumvent and deny a statutory

   remedy of the “forum state”—in this case, Florida—both those clauses are unenforceable, and

   transfer must be denied: “In sum, the choice clauses work together not only to deprive Plaintiff of

   a remedy. . . but also to violate the strong public policy of the forum state. Accordingly. . . both

   the forum-selection clause and the choice-of-law clause are unenforceable.” Wingard v.

   Lansforsakringar AB, No. 2:11-CV-45-WKW, 2013 U.S. Dist. LEXIS 141572 at *33 (M.D. Ala.

   Sept. 30, 2013).

          Defendants may claim that Facebook’s choice-of-law clause can be severed from its forum

   selection clause and that the transferee court will therefore apply Florida law, including the SMPA,

   just as this Court would. But if this action is transferred, Defendants will instantly argue that the



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   federal district court in California is bound to decide the public policy issue as a matter of

   California law and that, as a result, Facebook’s choice-of-California-law clause is perfectly

   enforceable (because it does not offend any California public policy), knocking Florida law out of

   this case and rendering the SMPA a nullity.2 This is the playbook always pursued the big social

   media platforms, with great success. 3

             That is the true reason Defendants seek transfer here. They suffer no prejudice from a

   Florida forum; indeed, before this case was filed, Facebook (acting through a “trade association”)

   had availed itself of a Florida forum in the Netchoice litigation to challenge the SMPA. Defendants

   seek transfer because they intend—but have conveniently neglected to mention to the Court—

   transfer to result in California law being applied, rendering the SMPA a nullity. That result violates

   the principles laid out in Davis and Gordon because it seeks through “use of [a] forum selection

   clause” to obliterate Florida’s policy of giving Florida residents protection against Big Tech

   censorship under the SMPA. Facebook’s goal is to wholly deprive Plaintiffs of “their day in court,”

   nullifying their SMPA remedy, and transfer must therefore be denied. Davis, 936 F.3d at 1132;

   Gordon, 418 F. Supp. 3d at 1138.

       II.      YouTube is Distinguishable Because Facebook’s Forum-Selection Clause, Unlike
                YouTube’s, Applies Only to Claims Against the Company, and Thus Does Not
                Apply to Plaintiff’s Claims Against Defendant Mark Zuckerberg

             Even if Facebook’s forum-selection clause did not violate Florida public policy (which it

   does), it would still not require transfer in this case because it applies to—and only to—any “claim,



   2
    To be clear, it is Plaintiffs’ position that Florida law should and does govern all state law issues in this case.
   3
     See, e.g., Rojas-Lozano v. Google, Inc., 159 F. Supp. 3d 1101, 1109, 1112 (N.D. Cal. 2016) (“Although this case
   was originally file[d] in the District of Massachusetts, because it was transferred here due to a contractual forum-
   selection clause, California is [now] considered the forum . . . . Plaintiff has not cited any case in which a California
   court refused to apply California law pursuant to a valid contractual choice of law provision because California law
   offered fewer protections than another state’s law. The choice of law provision is thus enforceable and Plaintiff's claim
   under [a Massachusetts statute] must be dismissed.”); Williams v. Facebook, Inc., 384 F. Supp. 3d 1043, 1047 (N.D.
   Cal. 2013) (plaintiffs’ N.Y. statutory claim was “barred by Facebook’s enforceable choice of law provision”).

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   cause of action, or dispute you have against us [i.e., Facebook].” (Facebook TOS § 4, supra)

   (emphasis added). 4 Thus, the clause manifestly does not apply to Plaintiffs’ claims against

   Defendant Mark Zuckerberg (“Zuckerberg”), 5 and Defendants cannot demand transfer of those

   claims. YouTube is distinguishable, because YouTube’s forum-selection clause applies to “[a]ll

   claims arising out of or relating to these terms or the Service” (as opposed to only claims against

   YouTube). Accordingly, unlike in YouTube, the forum selection clause would in this case send

   some claims to California while leaving substantially identical claims, based on the same facts,

   still pending in this Court. It is well-settled that courts in this District and in Florida “will not

   enforce [a] forum selection clause” when doing so would produce claim-splitting resulting in

   “judicial inefficiency,” “potentially competing judgments,” and “simultaneous interstate

   litigation.” 6

           Plaintiffs are not arguing that any suit against Facebook can avoid a California forum

   simply by naming Zuckerberg as a co-defendant. This case is, to the say the least, unusual—and

   unusually important—because it involves the de-platforming of a sitting President of the United

   States, a decision made personally and directly by Zuckerberg himself. Thus, Plaintiffs’ claims

   against Zuckerberg are real and paramount, and because they are not covered by Facebook’s forum

   selection clause, Plaintiffs have every right to bring those claims in Florida.

            Zuckerberg may say he can invoke Facebook’s forum-selection clause as a “third party



   4
     The word “us” in Facebook’s TOS plainly refers to Facebook, Inc. See id. § 5(1) (“These Terms . . . make up the
   entire agreement between you and Facebook, Inc. regarding your use of our Products.”) (emphasis added).
   5
     Plaintiffs’ claims against Zuckerberg include claims under the First Amendment and Florida’s SMPA and FDUTPA.
   See, e.g., KC Leisure, Inc. v. Haber, 972 So. 2d 1069 (Fla. App. 2008) (FDUTPA claims can be brought against
   individual shareholder/officer of company where such individual directly participated in challenged acts).
   6
     Woods v. Christensen Shipyards, Ltd., No. 04-61432-CIV, 2005 U.S. Dist. LEXIS 42994 at *34 (S.D. Fla. Sept. 23,
   2005); BP Prods. N. Am., Inc. v. Super Stop 79, Inc., 464 F. Supp. 2d 1253, 1257-58 (S.D. Fla. 2006); BP Prods. N.
   Am., Inc. v. Coral Petrol., Inc., 462 F. Supp. 2d 1221 (S.D. Fla. 2006); Am. Safety Cas. Ins. Co. v. Mijares Holding
   Co., 76 So. 3d 1089, 1092 (Fla. App. 3d Dist. 2011); McWane, Inc. v. Water Mgmt. Servs., Inc., 967 So. 2d 1006 (Fla.
   App. 1st Dist. 2007).

                                                            4
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   beneficiary.” See, e.g., Peter v. Keyes Co., 402 Fed. Appx. 448, 451 (11th Cir. 2006) (non-parties

   to contract cannot invoke forum selection clause “unless it is determined that they are a third party

   beneficiary”) (quoting Fla. Power & Light Co. v. Road Rock, Inc., 920 So. 2d 201, 203 (Fla. App.

   2006)). But Facebook’s TOS explicitly state, “[t]hese Terms do not confer any third-party

   beneficiary rights.” (Facebook TOS § 5(6), https://www.facebook.com/terms.php?ref=pf.)

   Contrast this to the TOS of Facebook’s subsidiary, Instagram: “Our. . . agents. . . can invoke our

   rights under this agreement in the event they become involved in a dispute.” (Instagram, TOS,

   https://help.instagram.com/581066165581870) (emphasis added). Given that Facebook left this

   provision out of its own TOS (while inserting it into Instagram’s), and that ambiguities in

   Facebook’s contract must be read in Plaintiffs’ favor, it follows that under Facebook’s TOS,

   Facebook’s “agents,” such as Zuckerberg, cannot invoke Facebook’s forum-selection rights.

             More fundamentally still, even if Zuckerberg could enforce Facebook’s forum selection

   clause (which he cannot), that clause would still not apply to claims against him, because by its

   own terms that clause applies only to claims against Facebook. See, e.g., Holtzman v. Vill. Green

   Mgmt. LLC, No. 2:19-cv-11150, 2020 U.S. Dist. LEXIS 8235 at **28-29 (E.D. Mich. Jan. 17,

   2020) (issue of whether non-signatory could invoke selection clause is “analytically distinct” from

   issue of whether that clause applies to the claims asserted, which is “a matter of contract

   interpretation”). Whether or not Zuckerberg can invoke Facebook’s forum-selection clause, he

   certainly cannot rewrite it, and that clause does not cover claims against him. Accordingly, those

   claims must stay in Florida, and to avoid “judicial inefficiency” and “potentially competing

   judgments,” this Court should refuse to enforce the forum selection clause in toto, denying transfer.

      III.      YouTube Is Distinguishable Because, Unlike YouTube, Facebook De-platformed
                Plaintiff Trump While He Was Still President

             Judge Moore grounded his Order on Plaintiff Trump’s allegation that Defendant YouTube

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   had permanently, and unconstitutionally, restrained his speech on January 26, 2021, after Plaintiff

   had left office and, therefore, the government entity exception for forum-selection contained in

   YouTube’s Terms of Service (TOS) did not apply to the former President. Unlike YouTube,

   Defendant Facebook unconstitutionally restrained the then President’s speech on January 7, 2021,

   while Plaintiff was still in office, a prior restraint that remained in place as President Trump

   transitioned to citizen Trump on January 20, 2021, and which continues to this day.

           Facebook does not have an enforceable contract with Plaintiff nor any contract whatsoever.

   Further, it was settled law that Plaintiff’s account was “not a private one.” Knight v. Trump, 928

   F.3d 226, 231 (2nd Cir. 2019); see also, Davison v. Randall, 912 F.3d 666 (4th Cir. 2019) (any

   previous Facebook contract terms are of no effect). Facebook’s Government Entity TOS state,

   “terms relating to venue and governing law do not apply to your Official Use.” This exception was

   not included in Facebook’s TOS when Plaintiff created his account in May of 2009. Facebook

   created its separate government TOS in October of 2009. After Plaintiff was sworn in as President

   in January of 2017, Facebook never sought to contract with him under its government terms, which

   it uses with all government entities, and of course, the President of the United States is a

   government entity. Accordingly, Facebook lacks the basic offer and acceptance required for any

   contract. An entire regime of federal contracting law applies when social media are contracting

   with the federal government, ranging from the Contract Disputes Act to the Antideficiency Act,

   among others. 7 Consequently, there is no precedent for a forum selection being imposed upon the

   federal government.

           Magically—and quite bizarrely—Defendants want this Court to believe Plaintiff’s private



   7
    For example, 41 U.S.C. § 7102 states that the procurement of “property” or “services” is governed by this federal
   contracting law. Another example of how regular, private contracts cannot be imposed upon federal entities is the
   Anti-deficiencies Act (ADA), 31 USC § 1341. This prevents indemnity provisions, which are in private TOS.

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   account, set up twelve (12) years before he became President, was automatically reactivated,

   absent the ability to post to Facebook, when he became a private citizen again. Defendants’ Reply

   appears to admit that Plaintiff Trump never had an opportunity to reactivate that earlier account

   and have a “meeting of the minds” under Defendants’ TOS, because he was already banned.

   Facebook’s own inaction or decision not to contract cannot serve to its benefit now.

            As there were less than two (2) weeks left in his term of office when Defendant Facebook

   permanently suspended Plaintiff, it is not reasonable to expect Plaintiff to have brought this lawsuit

   while still President. Nonetheless, the Plaintiff’s statements, and the Defendant’s acts complained

   of complained in response to these statements, both occurred while Plaintiff was a government

   entity. This case has been filed within that statute of limitations by the one who was and continues

   to be injured since January 7, 2021. Therefore, by virtue of Defendant’s clear language in its TOS

   excluding government entities from its forum-selection clause, this action is properly filed.

      IV.      YouTube Did Not Address Florida Law Holding That A Forum Selection Clause
               Does Not Survive Repudiation

            YouTube does not support Defendants’ claim that Facebook’s forum selection clause

   survived Facebook’s de-platforming of President Trump, because YouTube never recognized that

   under Florida law, a forum selection clause does not survive where, as here, one party has

   repudiated and “‘unequivocally terminated’ the entire agreement.” Aberdeen Golf & Country Club

   v. Bliss Constr., 932 So. 2d 235, 240 (Fla. App. 4th Dist. 2005). Facebook anticipatorily repudiated

   and “unequivocally terminated” its “entire agreement” with President Trump when it de-

   platformed him on January 7, 2021, and thereafter refused to recognize any obligations thereunder.

   Just as in Aberdeen Golf, Facebook cannot be permitted to wholly terminate a contract, repudiate

   its duty to perform its own obligations, and then take advantage of that contract’s forum selection

   clause. For the foregoing reasons, Plaintiffs hereby request oral argument.

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   Respectfully submitted,

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                                  CERTIFICATE OF SERVICE
          I hereby certify that on October 19, 2021, a true and correct copy of the foregoing was

   electronically filed with the Clerk of the Court using CM/ECF and electronically provided to all

   Counsel of Record registered for service of same.



                                               By:     /s/ Matthew Lee Baldwin
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